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                Exhibit 1
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
__________________________________________
                                             )
PFLAG, INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                      v.                     )   Civil Action No. 8:25-cv-337-BAH
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)

                                      STATUS REPORT

       1. In accordance with this Court’s February 13, 2025 Order, Defendants file this status

           report “apprising the Court of the status of Defendants’ compliance” with the Order,

           and “providing a copy of the written notice” required by the Order. Order at 2, ECF

           No. 61.

       2. On February 13, 2025, counsel for Defendants provided written notice (the “Notice”)

           of the Court’s Order to Defendant U.S. Department of Health and Human Services

           and its subagencies, including, but not limited to, Defendant Health Resources and

           Services Administration, and Defendant National Institutes of Health, as well as

           Defendant National Science Foundation.

       3. A copy of the Notice is attached as Exhibit A. 1




       1
        Counsel for Defendants obtained consent from counsel for Plaintiffs to partially redact
email addresses of agency employees that appear in the Notice.
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Dated: February 20, 2025          Respectfully submitted,

                                  BRETT A. SHUMATE
                                  Principal Deputy Assistant Attorney General

                                  MICHELLE BENNETT
                                  Assistant Branch Director

                                  /s/ Christian S. Daniel
                                  VINITA B. ANDRAPALLIYAL
                                  CHRISTIAN S. DANIEL
                                  Trial Attorneys
                                  United States Department of Justice
                                  Civil Division, Federal Programs Branch
                                  1100 L Street NW
                                  Washington, DC 20530
                                  Tel.: (202) 305-0845
                                  vinita.b.andrapalliyal@usdoj.gov

                                  Counsel for Defendants
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From:             Bennett, Michelle (CIV)
To:               Berge, Miranda (HHS/OGC); Jacobs, Anna (NIH/OD) [E]; Ghosh, Sudevi (CDC/OGC); Xu, Tanya (HHS/OGC);
                  Hakimian, Rina (HHS/OGC);             @nsf.gov;            @nsf.gov
Cc:               Andrapalliyal, Vinita B. (CIV); Daniel, Christian S. (CIV); Graver, Harry (CIV)
Bcc:              Bennett, Michelle (CIV)
Subject:          Notice of Temporary Restraining Order in PFLAG v. Trump, 25cv337 (D. Md.)
Date:             Thursday, February 13, 2025 9:34:00 PM
Attachments:      61 - TRO.pdf
Importance:       High



HHS Colleagues,

Earlier today, the district court entered the attached temporary restraining order in PFLAG v. Trump,
25cv337 (D. Md.). Pursuant to the order, the U.S. Department of Health and Human Services (HHS)
and all of its subagencies, including, but not limited to, the Health Resources and Services
Administration (HRSA), the National Institutes of Health (NIH), and the National Science Foundation
(NSF), as well as their officers, agents, successors, servants, employees, and attorneys, and any
other persons who are in active concern or participation with them, are RESTRAINED from
conditioning or withholding federal funding based on the fact that a healthcare entity or health
professional provides gender affirming medical care to a patient under the age of nineteen under
Section 3(g) of Executive Order 14168, entitled Defending Women From Gender Ideology
Extremism and Restoring Biological Truth to the Federal Government (Defending Women EO),
and Section 4 of Executive Order 14187, entitled Protecting Children from Chemical and Surgical
Mutilation (Protecting Children EO).

HHS and its subagencies, as well as their officers, agents, successors, servants, employees, and
attorneys, and any other persons who are in active concern or participation with them may not take
any steps to implement, give effect to, or reinstate under a different name the directives in Section
3(g) of the Defending Women EO or Section 4 of the Protecting Children EO that condition or withhold
federal funding based on the fact that a healthcare entity or health professional provides gender
affirming medical care to a patient under the age of nineteen. HHS and its subagencies must also
release any disbursements on funds that were paused due to these Executive Orders.

Please forward this notice and the attached temporary restraining order as necessary to ensure full
compliance with the Court’s order. Also, please document the steps you take to comply with this
temporary restraining order.

If you have any questions, please let us know.

Thanks,
Michelle



Michelle R. Bennett
Assistant Director
U.S. Department of Justice
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